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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                             PINE BLUFF DIVISION

JACOB JAMES TOWNSEND                                                               PLAINTIFF
ADC #141915

V.                                5:16CV00247 BSM/JTR

TERRY MURPHY,
Water Treatment Supervisor,
Tucker Unit, ADC, et al.                                                       DEFENDANTS

                                            ORDER

       On July 31, 2018, the Eighth Circuit Court of Appeals issued an opinion: (1)

affirming the grant of summary judgment to Defendants Richard Romine and David

White; (2) reversing the grant of summary judgment to Defendant Terry Murphy;

and (3) and remanding the case to this Court for further proceedings consistent with

the opinion. Doc. 71. The mandate has issued. Doc. 73.

       In accordance with this Court’s June 14, 2017 Order granting summary

judgment (Doc. 61), as now affirmed by the Eighth Circuit, the Clerk of the Court is

directed to terminate Romine and White as Defendants in this action.

       The remaining parties must complete discovery on or before December 3,

2018,1 and file any final dispositive motions on or before January 2, 2019.



       1
         This means that the parties must send their final discovery requests to the opposing side
so that they have the full amount of time, as provided by the Federal Rules of Civil Procedure, to
respond before the discovery deadline expires. For instance, Fed. R. Civ. P. 33(b)(2) states that a
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       IT IS SO ORDERED this 4th day of September, 2018.



                                               ____________________________________
                                               UNITED STATES MAGISTRATE JUDGE




party has 30 days to respond to interrogatories. Thus, the parties must send their final
interrogatories to the opposing side at least 30 days before the expiration of the discovery deadline.

                                                  2
